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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 KOCH MINERALS SÀRL
 Chemin Des Primeveres 45
 Fribourg, 1700
 Switzerland

 KOCH NITROGEN INTERNATIONAL SÀRL                          Civil Action No: 17-cv-02559-DAR
 Chemin de Primeveres 45
 Case Postale 592
 Fribourg, 1701
 Switzerland,

                Plaintiffs,

                   v.

 BOLIVARIAN REPUBLIC OF VENEZUELA;
 Ministerio del Poder Popular para Relaciones
 Exteriores
 Oficina de Relaciones Consulares
 Avenida Urdaneta
 Esquina Carmelitas a Puente Llaguno
 Piso 1 del Edificio Anexo a la Torre MRE
 Caracas, 1010
 República Bolivariana de Venezuela,

                Defendant.



                                   JOINT STATUS REPORT

        On November 28, 2017, Plaintiffs filed a complaint against the Bolivarian Republic of

Venezuela for enforcement of an ICSID arbitral award. (ECF No. 1.) The case was assigned to

Judge Ketanji Brown Jackson on December 4, 2017. About six months later on May 23, 2018,

Plaintiffs filed an amended complaint to incorporate the arbitral tribunal’s rectification to reduce

the arbitral award. The case was then automatically stayed from August 2018 to April 2019

during an ICSID annulment proceeding.




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         On May 14, 2019, the Clerk of this Court entered an Entry of Default. (ECF No. 24.) On

May 20, 2019, the case was referred to Magistrate Judge Deborah A. Robinson. On May 29,

2019, Plaintiffs consented to a magistrate judge conducting all proceedings in this case and

ordering the entry of a final judgment. (ECF No. 27), and the case was directly reassigned to

Magistrate Judge Deborah A. Robinson on May 31, 2019. However, “[a] magistrate judge may

exercise this authority only if all parties voluntarily consent.” (ECF No. 27; ECF No. 28.) At no

point has Venezuela provided such consent.

         On August 2, 2019, Venezuela filed Motions To Set Aside the Clerk’s Entry of Default

and To Dismiss the Complaint for Lack of Personal Jurisdiction. (ECF No. 30.) Plaintiffs filed

their response on August 16, 2019 (ECF No. 32), and Venezuela in turn filed its reply on August

23, 2019. (ECF No. 33.) Accordingly, the motions are fully briefed and submitted.

         It is the position of Venezuela that these motions should be decided by the district court

judge and the case dismissed. Plaintiffs do not agree.

Respectfully submitted:

 Date:     New York, New York                      Date:    New York, New York
           August 27, 2019                                  August 27, 2019

 By: /s/ Alex Yanos                                By: /s/ Joseph D. Pizzurro
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